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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Southern District of New York

 

 

FREE HOLDINGS INC., )
Plaintiff )
V. ) Case No. Case 1:22-cv-00881 (LGS)
KEVIN McCOY, et al. )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

KEVIN McCOY

 

pae: 3/10/22 Akbiilez
Attorney's signature
fp

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